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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  Judge Raymond P. Moore

Civil Action No. 12-cv-02858-RM-MJW

GLENN PICCO,
FRANCINE PICCO,

         Plaintiffs,

v.

KELLY R. GLENN, D.O.,

         Defendant.


                          ORDER OF DISMISSAL WITH PREJUDICE


         This matter is before the Court on the Stipulation of Dismissal of All Claims Against

Defendant Kelly R. Glenn, D.O. with Prejudice (“Stipulation”) (ECF No. 246). Having considered

the Stipulation, the Court file, and being otherwise fully advised, the Court hereby

         ORDERS that the claims and causes of action asserted by Plaintiffs Glenn Picco and Francine

Picco against Kelly R. Glenn, D.O. are in all respects dismissed with prejudice. Each party shall pay

their own costs and fees. The Clerk of the Court is directed to close this case.

         DATED this 26th day of October, 2015.

                                                      BY THE COURT:



                                                      ____________________________________
                                                      RAYMOND P. MOORE
                                                      United States District Judge




 
